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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BENJAMIN SLATER                            : CIVIL ACTION
                                           :
               v.                          : NO. 18-2711
                                           :
DORNEY PARK & WILDWATER                    :
KINGDOM, et al.                            :


                                      ORDER

               AND NOW, this 9th day of April, 2019, it is hereby ORDERED that
status/settlement conference previously scheduled for May 22, 2019 is rescheduled to
Wednesday, June 5, 2019 at 1:30 p.m., at the Reading station, the Madison Building,
400 Washington Street, Reading, Pa. All individuals with authority to settle this matter
must attend.


                                           BY THE COURT:



                                           /s/ Jeffrey L. Schmehl
                                           JEFFREY L. SCHMEHL, J.
